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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 La Unión del Pueblo Entero, et al.,
                                       Plaintiffs,
             v.
                                                                    Case No. 5:21-CV-844-XR
 State of Texas, et al.,
                                                                        (consolidated cases)
                                      Defendants.



         STIPULATION CONCERNING THE QUESTIONING OF WITNESSES
                  ABOUT THEIR POLITICAL AFFILIATIONS

       WHEREAS, the Parties in these consolidated lawsuits have met and conferred

concerning potential motions in limine, and,

       WHEREAS, they wish to obviate motion practice concerning the questioning of

witnesses about their political affiliations or preferences,

       NOW, THEREFORE, it is hereby stipulated and agreed that:

       1. Defendants and Intervenor-Defendants will refrain from questioning any lay witness

            for any Plaintiff concerning his or her political-party affiliation, party preference,

            choices as a voter, or contributions to any political party or candidate; and,

       2.   Plaintiffs, Defendants, and Intervenor-Defendants will refrain from questioning any

            expert witness for any party concerning his or her political-party affiliation, preference,

            choices as a voter, or contributions to any political party or candidate.



                                    [Signature pages follow]
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                                   CERTIFICATE OF SERVICE

       I certify that a true and complete copy of the foregoing document was filed electronically
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